
539 A.2d 203 (1988)
In the Matter Of A.C., Appellant.
No. 87-609.
District of Columbia Court of Appeals.
March 17, 1988.
Before PRYOR, Chief Judge, and MACK, NEWMAN, FERREN, BELSON, TERRY, ROGERS and STEADMAN, Associate Judges.

ORDER
PER CURIAM.
On consideration of appellant's petition for rehearing en banc, and the responses thereto, and the motions of amici curiae for leave to file briefs, and the lodged briefs; and it appearing that the majority of the judges of this court has voted to grant the petition for rehearing en banc, it is
ORDERED that appellant's petition for rehearing en banc is granted and that the *204 opinion and judgment of November 10, 1987, are hereby vacated. It is
FURTHER ORDERED that the Clerk is directed to file the lodged briefs of amici curiae. It is
FURTHER ORDERED that the mandate issued December 17, 1987, is hereby recalled and the Clerk of the Superior Court is directed to transmit same to the Clerk of this court forthwith. It is
FURTHER ORDERED that the Clerk shall schedule this matter for argument before the court sitting en banc as soon as the business of the court permits. Counsel are hereby directed to provide ten copies of the briefs heretofore filed to the Clerk on or before March 28, 1988.
